IN THE UNITED STATES DISTRICT COURT FILED
FOR THE WESTERN DISTRICT OF NORTH CAROLINA CHARLOTTE, NC

 

Charlotte Division
JUL 21 2021

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US District Court
JANICE GULLAS, : Sa

Plaintiff Western District of NC
Docket No. 21-cv- 357]
~ against -

: COMPLAINT
COMPREHAB, INC., doing business as : Trial by Jury
Compleat Rehab & Sports Therapy Center, :

Defendant.

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PLAINTIFF JANICE GULLAS, appearing pro se, brings this lawsuit against
Comprehab, Inc. (hereinafter referred to as “Comprehab” or “Defendant”) and seeks to recover
damages for Defendant’s violations of the Fair Labor Standards Act (hereinafter, “FLSA”).

PRELIMINARY STATEMENT

1, This matter is a straightforward wage and hour case premised on Defendant’s
willful violations of the FLSA. Plaintiff worked approximately 56 hours per week from May 14,
2018 through May 14, 2021. Defendant did not pay Plaintiff her regular hourly rate for all of her
hours of work and the statutorily-required rate of one and one-half times the regular rate of pay
for any and all hours that Plaintiff worked in excess of forty (40) hours each workweek.

JURISDICTION AND VENUE

2. This Court has federal question jurisdiction over the FLSA claims pursuant to 29
U.S.C. § 216(b) and 28 U.S.C, § 1331.

3, This Court has supplemental jurisdiction over the breach of contract claim under
28 U.S.C, §1367 because said claim arose from the same common nucleus of operative facts

from which the FLSA claims arise.

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4, This Court has personal jurisdiction over Defendant because it is doing business
in North Carolina and in this district and because many of the acts complained of have occurred
in this state and in this District and gave rise to the claims alleged.

5. Venue is proper in this District pursuant to 28 U.S.C. §1391(b) because a
substantial part of the events or omissions giving rise to the claims occurred in this District.

6. This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C.
§§ 2201 and 2202.

THE PARTIES

7. Plaintiff Janice Gullas was, at all times relevant, an adult individual, residing in
Huntington, West Virginia.

8. Plaintiff was employed by Defendant from March 28, 2018 through May 14, 2021
as a Physical Therapist.

9, Upon information and belief, Defendant Comprehab, Inc. is a North Carolina
corporation, with its principal place of business at 2675 Court Drive, Gastonia, North Carolina
28054, within this District, and does business as Compleat Rehab & Sports Therapy Center.

10. Upon information and belief, Defendant had power over personnel decisions
involving Plaintiff.

11. Upon information and belief, Defendant had power over payroll decisions over
Plaintiff.

12. Upon information and belief, Defendant had the power to hire and fire Plaintiff,
establish and pay her wages, set her work schedules and maintain her employment records, and

acted with respect to the wage practices pertinent to Plaintiff.

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13. At all relevant times, the work performed by Plaintiff was directly essential to the
business operated by Defendant.

STATEMENT OF FACTS

14, At all relevant times, Plaintiff is a citizen of the Republic of the Philippines and a
resident of the state of West Virginia.

15. Plaintiff is a physical therapist by training or education, having graduated with a
Bachelor’s degree in Physical Therapy from an educational institution in the Philippines.

16. ‘At all times relevant, Plaintiff was licensed to practice as a physical therapist in
the states of West Virginia and North Carolina.

17. Plaintiff had more than five years of relevant experience working as a physical
therapist in the Philippines.

18. At all relevant times, Plaintiff was employed by Defendant as a Physical
Therapist, and was an employee within the meaning of 29 U.S.C. § 203(e)(1).

19. At all relevant times, Defendant was an employer within the meaning of 29
US.C. § 203(d).

20. ‘At all relevant times, Plaintiff was an employee engaged in commerce or in the
production of goods for commerce within the meaning of 29 U.S.C. §§ 206-207.

21. Plaintiff worked for Defendant as a home health care visiting Physical Therapist
from July 2018 through July 2021, and was assigned in the state of West Virginia. As a home
care physical therapist, Plaintiff was classified by Defendant as an exempt employee and
received no overtime wages.

22. Defendant required Plaintiff to visit patients in their homes.

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23. Beginning in July 2018, and from its North Carolina office, Defendant paid
Plaintiff pursuant to an unlawful per visit/hourly basis hybrid compensation plan.

24. Defendant assigned a certain number of points (generally 1, 1.5 or 2) to each type
of patient visit, using time estimates for patient visits to determine how many points to allocate.

25. Defendant compensated Plaintiff on an hourly rate basis for attending in-service
education or training and conference time spent with the interdisciplinary health care team.
Defendant did not pay Plaintiff for her travel time in-between patient visits and to the office from
her patient visits. Most significantly, Defendant did not pay Plaintiff for the time she was
required to spend “charting” — completing paperwork for each patient she visited.

26. To maintain and complete Defendant’s required paperwork, Plaintiff routinely
worked more than eight (8) hours a day and forty (40) hours per week. In addition to her normal
forty (4) hour workweek spent traveling from one patient’s home to the next, charting and coding
in the office, Plaintiff spent an additional two (2) hours each weekday at home, and two to four
hours each Saturday and each Sunday, documenting and charting the observation of a patient,
physical therapy treatment provided, patient education, preparing exercise programs, and
recertification based on an attending physician’s orders,

27. Thus, Plaintiff worked approximately at least fifty six (56) hours per week, but
was not compensated for her hours in excess of 40 per week.

28. Defendant misclassified Plaintiff and all other similarly situated home health care
providers as exempt employees, despite the illegal hybrid compensation plan.

29, Given that Defendant misclassified Plaintiff as an “exempt” employee, Defendant

failed to properly record all of her hours worked.

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30. Accordingly, Defendant did not compensate Plaintiff for hours over forty (40) that
she worked in a given workweek and did not pay a rate of one and one-half times her regular rate

for these hours.

FIRST CAUSE OF ACTION
Fair Labor Standards Act (FLSA)

31. Plaintiff re-alleges and incorporates by reference the preceding paragraphs as if
fully set forth herein.

32. Defendant has engaged in a widespread pattern and practice of violating the
FLSA, as described in this Complaint.

33. At all relevant times, Plaintiff and other similarly situated current and former
home care employees of Defendant were engaged in commerce and/or the production of goods
for commerce, within the meaning of 29 U.S.C. §§206(a) and 207(a).

34. At all times relevant, Plaintiff engaged in “commerce” while working for the
Defendant, as when she regularly used vehicle in driving to and from patient’s homes, and as
when she regularly used her laptop in documenting her patient visits, which vehicle and laptop
were ordered and/or manufactured, upon information and belief, outside the state or delivered
crossing state lines.

35. At all relevant times, Defendant had been and continues to be an employer
engaged in interstate commerce and/or the production of goods for commerce, within the
meaning of 29 U.S.C. §§206(a) and 207(a).

36. | Upon information and belief, based on the nature of operations of Defendant,
which included recruiting workers from foreign countries, transporting them to the United States,
training them, employing them, and monitoring them, at all relevant times, Defendant employs

or employed more than four (4) workers who fall under the category of “non-exempt employees”

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pursuant to the FLSA, and these employees regularly and recurrently either engag
commerce or handled or otherwise worked on goods or materials that had been moved um or
produced for commerce, including computers and telephones, and such as when they handled
credit card transactions or when they accepted delivery of supplies from out-of-state orders.

37.  Atall relevant times, Defendant was and continues to be an "enterprise engaged
in commerce" because it utilized essential business equipment, such as computers, printers and
office supplies that, upon information and belief, were manufactured outside the state of North
Carolina and were moved in interstate commerce.

38. | Upon information and belief, at all relevant times, Defendant regularly used,
sourced out and ordered its computer equipment and supplies by ordering either through phone
or online, with supply and distribution companies, and which various equipment and supplies,
upon information and belief, were either manufactured outside the state of North Carolina or
were delivered crossing state lines.

39. At all relevant times, Defendant’s business activities are/were related, performed
through unified operations or common control for a common business purpose, and
constitute/constituted an enterprise within the meaning of 29 U.S.C. §§203(1).

40. At all relevant times herein, upon information and belief, Defendant’s business
and enterprise have/had annual gross revenues in excess of Five Hundred Thousand Dollars
($500,000.00).

41, | The minimum and overtime wage provisions set forth in 29 U.S.C. §§201 ef seq.
apply to Defendant.

42.  Atall relevant times, Defendant had or has a policy and/or practice of refusing to

pay regular minimum compensation for all worked hours, including overtime compensation for

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those hours in excess of forty (40) hours per workweek, to its visiting home health care
employees.

43, At all relevant times, Plaintiff was not employed in a bona fide executive,
administrative, or a professional capacity pursuant to 29 U.S.C. § 213(a)(1) and corresponding
regulations.

44, Atall relevant times, Plaintiff was not subject to any other exemptions set forth in
the FLSA or administrative regulations.

45. By misclassifying Plaintiff and similarly situated home health care providers as
“exempt” employees, and thereby failing and refusing to pay them the regular hourly rate for all
hours worked, as well as overtime wage compensation as required by law and in accordance with
§ 206 and § 207 of the FLSA, Defendant’s violations of the FLSA, as described in this
Complaint, have been willful and intentional. Defendant has failed to make a good faith effort to
comply with the FLSA with respect to its compensation of Plaintiff and other similarly-situated
current and former home care employees.

46. Because Defendant’s violations of the FLSA have been willful, a three-year
statute of limitations applies, pursuant to 29 U.S.C. §255.

47.  Asaresult of Defendant’s willful failure to compensate its employees, including
Plaintiff, for all of the hours actually worked by them, including those in excess of forty (40)
hour per workweek, at their regular rate or overtime rate, the Defendant violated and continues to
violate the FLSA, 29 U.S.C. §201 ef seq., including 29 U.S.C. §207(a)(1) and 215(a).

48.  Asaresult of Defendant’s failure to properly compensate its employees, including
Plaintiff, the Defendant failed to make, keep, record, credit them with actual work hours, and to

preserve records with respect to each of its employees, sufficient to determine the wages, hours

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and other conditions and practices of employment, in violation of the FLSA, 29 U.S.C. §201 et
seq., including 29 U.S.C, §211(c) and 215(a).

49. Due to Defendant’s FLSA violations, Plaintiff suffered damages by being denied
proper regular compensation for all her hours of work, including overtime pay for those hours in
excess of 40 hours per workweek.

50. Due to Defendant’s FLSA violations, Plaintiff is entitled to recover from the
Defendant, the unpaid regular compensation for all her hours worked, including overtime
compensation for those hours worked in excess of forty (40) hours per workweek, as well as
additional amount equal to the unpaid compensation as and by way of liquidated damages,
reasonable attorney’s fees, and costs and disbursements of this action, pursuant to 29 U.S.C.
§216(b).

SECOND CAUSE OF ACTION
Breach of Contract

51. Plaintiff re-alleges and incorporates by reference the preceding paragraphs as if
fully set forth herein.

52. Upon information and belief, for the past several years, Defendant has recruited
Filipino and Indian rehabilitation therapists to be sponsored by it and to work for it.

53. | Upon information and belief, Defendant has required its foreign recruits to
execute a standard Employment Agreement.

54, On or about February 24, 2012, Plaintiff and Defendant entered into an
Employment and Noncompetition Agreement whereby Plaintiff promised to work for Defendant
as a Physical Therapist and whereby Defendant promised to pay Plaintiff a monthly salary, with

an annual salary range of at least $60,000.

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55. | Onor about December 9, 2016, Plaintiff and Defendant amended their February
24, 2012 Agreement and agreed that the term of the contract was for five (5) years from the date
the Employee (meaning, Plaintiff) would start rendering clinical work.

56. Onor about September 5, 2017, Defendant filed its second-preference Form I-140
immigrant petition on behalf of Plaintiff for the position of Physical Therapist with the worksite
address being in Gastonia, North Carolina.

57. On September 27, 2017, the EB-2 Form I-140 immigrant petition filed by
Defendant on behalf of Plaintiff was approved by the U.S. Citizenship and Immigration Services.

58. Before Plaintiff was to go for her consular interview at the U.S. Embassy in
Manila, Philippines, Defendant required Plaintiff to sign another Employment & Noncompetition
Agreement on February 27, 2018,

59, The February 27, 2018 Agreement provided that it constituted the entire
agreement between the parties and superseded all prior oral and written agreements between the
parties with respect to the subject matter thereof.

60. The February 27, 2018 Agreement provided that the term of the contract was for
three (3) years from the date that the Employee (meaning, Plaintiff) would start rendering
clinical work.

61. The February 27, 2018 Agreement provided that the Employee (meaning,
Plaintiff) would receive a bi-weekly salary for services rendered; that the annual salary range
was at least $60,000; and; that Plaintiff's actual salary or compensation would be based on
Department of Labor prevailing wage data for the specific location assigned to the Plaintiff.

62. On March 6, 2018, Plaintiff went for her U.S. visa interview at the U.S. Embassy

in Manila, Philippines and presented a letter dated February 20, 2018 and signed by Defendant’s

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President whereby Defendant confirmed its offer of employment to Plaintiff for the position of
Physical Therapist on a full-time basis and whereby Defendant likewise confirmed that Plaintiff
would be earning a salary of $73,195 per year, plus benefits.

63. | Upon information and belief, the Department of Labor’s prevailing wage rate for
the position of an EB-2 Physical Therapist in Gastonia, North Carolina in early 2018 was
$73,195 per year or $35.19 per hour.

64. The U.S. Embassy in Manila, Philippines issued Plaintiff her employment-based
permanent visa to be able to enter and work in the United States.

65. On or about March 27, 2018, Plaintiff arrived in the United States from the
Philippines.

66. Starting on March 28, 2018, Plaintiff, together with other newly-arrived recruits,
presented herself to Defendant to start employment at Defendant’s main office located in
Gastonia, North Carolina, within this District.

67. From March 28, 2018 through May 11, 2018, Defendant provided orientation to
Plaintiff regarding life in the United States, company policies and procedures, and generally on
how to go about doing physical therapy paper works in various clinical settings.

68. Defendant paid Plaintiff only an allowance of $110 per week during the
orientation period from March 28, 2018 through April 21, 2018.

69. Defendant paid Plaintiff the hourly rate of $35.19 for a guaranteed number of 35
hours per week each week from April 23, 2018 through June 29, 2018.

70. On or about May 11, 2018, Defendant deployed Plaintiff to work for one of its

healthcare facility-clients in West Virginia as a visiting home care Physical Therapist.

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71. Starting on May 14, 2018, Plaintiff rendered services as a home care Physical
Therapist for Defendant’s healthcare institution-client, Kindred at Home (hereinafter,
“Kindred”), in Huntington, West Virginia.

72. Upon information and belief, the Department of Labor prevailing wage rate for
the position of EB-2 Physical Therapist in the Huntington, West Virginia area for the period
between May 14, 2018 and June 30, 2018 was $78,333 per year or $37.66 per hour.

73. Upon information and belief, the Department of Labor prevailing wage rate for
the position of EB-2 Physical Therapist in the Huntington, West Virginia area for the period
between July 1, 2018 and June 30, 2019 was $79,643 per year or $38.29 per hour.

74. Upon information and belief, the Department of Labor prevailing wage rate for
the position of EB-2 Physical Therapist in the Huntington, West Virginia area for the period
between July 1, 2019 and June 30, 2020 was $73,798 or $35.48 per hour.

75. Upon information and belief, the Department of Labor prevailing wage rate for
the position of EB-2 Physical Therapist in the Huntington, West Virginia area for the period
between July 1, 2020 and June 30, 2021 was $75,878 per year or $36.48 per hour.

76, On or about February 24, 2020, Plaintiff and Defendant amended their
Employment Agreement whereby they agreed that in the event of any termination of the
Employee (meaning, Plaintiff) as a result of branch/clinic closure, or decrease in available work
that required a downsizing of staffing levels or other circumstances not in the Company’s
(meaning, Defendant’s) control, termination was effective immediately and that Employer
(Defendant) shall be under no further obligation to Employee (Plaintiff), except to pay accrued

available PTO and unpaid base salary.

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77, In the same February 24, 2020 Amendment, Plaintiff was given an opportunity to
choose between two modes of compensation, which were either: (a) salary basis, with an annual
salary of $74,293.13 or $47.62 per visit(sic); or (b) pay per visit basis, with a visit rate of $48.10
per visit.

78. In the same February 24, 2020 Amendment, Plaintiff chose “Salary Basis” as her
compensation choice and accordingly countersigned her choice of compensation option to make
the same expressly clear that she would like to be paid her current “salary” structure.

79. Plaintiff substantially performed under the Employment Agreement.

80. Defendant breached the Employment Agreement by failing to pay Plaintiff on a
salary basis as provided for in the Employment Agreement.

81. Asa home health care employee, Plaintiff often worked in excess of 8 hours in a
day and 40 hours a week. Plaintiff would drive from her home to the homes of her assigned
patients; would oftentimes drop by Kindred’s office; would resume visiting other patients; and
would drive back to her house at the end of the day.

82. In addition to working at least eight hours a day, Plaintiff would work on and/or
finish her initial evaluation reports, re-evaluation reports, progress report notes and other
communications to other members of the healthcare team, during night times, for at least two
hours every night, and during week-ends, for at least two to four hours every week-end.

83. Beginning on or about July 1, 2018, and continuing, Defendant paid Plaintiff not
on a salary basis, in violation of their employment agreement.

84. Defendant paid Plaintiff on an hourly basis, pursuant to a compensation plan
whereby she was paid on an hourly rate based not on the actual number of hours worked and not

on the Department of Labor prevailing wage rate, but based on a predetermined initial hourly

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rate and based on an estimated number of hours supposedly required to finish a particular kind of
homecare visit made.

85. Starting on or about July 1, 2018, Defendant paid Plaintiff an initial hourly rate of
$46.92,

86. Starting on or about July 1, 2019, Defendant paid Plaintiff an hourly rate of
$47.92.

87. Starting on or about July 1, 2018, Defendant computed and credited Plaintiff with
his number of work hours by allocating a certain number of points corresponding to an arbitrarily
estimated number of work hours supposedly required to do and finish a particular home care visit
made by Plaintiff.

88. As and by way of an example, when Plaintiff did a start of care visit to a patient,
she would normally take on average at least four and a half (4.5) hours to do the actual PT
evaluation, drive to and from the patient’s home, analyze, fill out and finalize documentation of
the start of care evaluation.

89. In this example, if the initial evaluation were done in July 2018, Plaintiff would
have been paid 4.5 hours multiplied by the prevailing wage rate of $38.29 per hour, or $172.30.

90. In this example, Defendant paid Plaintiff the hourly rate of $46.92 multiplied by
the predetermined number of 2.5 points for the particular kind of visit made, which in this
example was a start of care evaluation, or $117.30.

91, In this particular example, Defendant actually paid Plaintiff much less ($117.30)
as compared to if it paid Plaintiff her actual number of work hours multiplied by the DOL

prevailing wage rate ($172.30).

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92. As and by way of a second example, when Plaintiff did a discharge visit to a
patient, she would normally take on average at least two (2) hours to do the actual discharge
visit, drive to and from the patient’s home, analyze, fill out and finalize documentation of the
discharge.

93. In this second example, if the discharge visit were done in July 2019, Plaintiff
would have been paid 2 hours multiplied by the prevailing wage rate of $35.48 per hour, or
$70.96.

94. In this second example, Defendant paid Plaintiff the hourly rate of $47.92
multiplied by the predetermined number of 1.25 points for the particular kind of visit made,
which in this second example was discharge visit, or $59.90.

95. In this second example, Defendant actually paid Plaintiff much less ($59.90) as
compared to if it paid Plaintiff her actual number of work hours multiplied by the DOL
prevailing wage rate ($70.96).

96. As and by way of a third example, when Plaintiff did a PT evaluation visit to a
patient (evaluation when nursing is involved in patient’s care), she would normally take on
average at least two hours and 45 minutes (2.75 hours) to do the actual PT evaluation visit, drive
to and from the patient’s home, analyze, fill out and finalize documentation of the PT evaluation.

97, In this third example, if the PT evaluation visit were done in July 2020, Plaintiff
would have been paid 2.75 hours multiplied by the prevailing wage rate of $36.48 per hour, or
$100.32.

98. In this third example, Defendant paid Plaintiff the hourly rate of $47.92 multiplied
by the predetermined number of 1.75 points for the particular kind of visit made, which in this

third example was PT evaluation visit, or $83.86,

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99. In this third example, Defendant actually paid Plaintiff much less ($83.86) as
compared to if it paid Plaintiff her actual number of work hours multiplied by the DOL
prevailing wage rate ($100.32).

100. As stated above, Defendant paid Plaintiff her regular hourly rate for certain kinds
of activities, such as attending interdisciplinary meeting or in-service seminars.

101. The Defendant’s hybrid compensation plan was inconsistent with a salary basis of
compensation or with a fee basis of compensation, and therefore, the Plaintiff should have been
paid overtime wages for all hours she worked over 40 in a workweek.

102. Plaintiff often worked in excess of 8 hours in a day and 40 hours a week, yet the
Defendant willfully failed to pay her overtime compensation of one and one-half times her
regular rate of pay.

103. Defendant breached the Employment Agreement by failing to pay Plaintiff her
compensation wage based on the Department of Labor prevailing wage rates at the place of
Plaintiff's assignment (West Virginia).

104. Defendant breached the Employment Agreement by arbitrarily estimating
Plaintiff's work hours, and by not paying her for all of her actual work hours.

105. Defendant breached the Employment Agreement by failing to pay Plaintiff her
premium overtime pay for all of her hours of work in excess of forty (40) hours per work week.

106. Plaintiff suffered damages as a direct and proximate result of Defendant’s breach
of the Employment Agreement.

107. Plaintiff is entitled to compensatory damages for breach of contract in an amount
to be determined at trial.

THIRD CAUSE OF ACTION
Action for Declaratory Judgment

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108. Plaintiff re-alleges and incorporates by reference the preceding paragraphs as if
fully set forth herein.

109. Plaintiff's first clinical assignment, after her orientation, started on May 14, 2018.
She last worked for Defendant on May 14, 2021.

110. The parties’ December 9, 2016 Amendment to the original Employment
Agreement provided that the term of the contract was for five (5) from the date the Employee
would start rendering clinical work.

111. The December 9, 2016 Amendment was superseded and replaced by the parties’
February 27, 2018 Employment Agreement which clearly stated that the term of the contract was
for three (3) years from the date that the Employee would start rendering clinical work.

112. On or about May 28, 2021, Defendant’s lawyers sent a letter to Plaintiff
reminding Plaintiff that the term of her employment with the Company (meaning, Defendant)
was scheduled to expire on or about April 23, 2023.

113. Defendant’s May 28, 2021 letter advised Plaintiff that her alleged voluntary
termination of her employment before the end of the employment period would constitute a
material breach of the contract, and that the Company would demand damages estimated to be
$20,830.70.

114. Knowing that she had already fulfilled her three-year employment contract,
Plaintiff did not respond to Defendant’s May 28, 2021 letter.

115, On or about June 29, 2021, Defendant, through its lawyers, again sent Plaintiff
another letter, this time informing Plaintiff that her employment was terminated effective May

17, 2021, and that as a result of Plaintiff's alleged breach of their employment agreement,

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demanded that Plaintiff re-pay the Company $20,831.64 for its costs and lost revenue, within the
next thirty (30) days.

116. The June 29, 2021 letter likewise warned Plaintiff that if she ignored the letter,
“legal action may be filed against you without further notice”.

117. Plaintiff has a definite and concrete dispute with Defendant concerning the “term”
of their employment agreement, and concerning which between the December 9, 2016
Amendment and the February 27, 2018 Employment Agreement should be the controlling
employment agreement between them.

118. Additionally, should the December 9, 2016 Amendment be considered the
controlling employment agreement between the parties, there arises a definite and concrete
dispute between the parties, as to whether or not the wage theft violations committed by
Defendant which are subject matter of this case should be considered as “analogous” offenses
provided for by the Employment Agreement as to be a ground for the immediate termination of
the employment relationship by the Plaintiff.

119, The dispute touches the legal relations of parties having adverse legal interests.

120. The dispute is real and substantial.

121. The dispute admits of specific relief through a decree of a conclusive character.

122. The dispute involves a substantial controversy of sufficient immediacy and reality
to warrant the issuance of a declaratory judgment.

123. Defendant’s threat to institute legal action would work to Plaintiff's detriment and
injury, and for which she has no adequate remedy at law.

124. Asa direct and proximate result of Defendant’s threats to institute legal action

and to unlawfully prolong or extend Plaintiff's employment, Plaintiff has suffered and will

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continue to suffer in the future, direct and consequential damages, including but not limited to,
the loss of the ability to exercise her profession in an environment free of concerns or issues that
would jeopardize her physical therapy license, her health, and the delivery of quality patient care
to her patients.

125. By reason of the foregoing, an actual and justiciable controversy exists between
Plaintiff and Defendant.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief
as against Defendant:

1, Payment of unpaid minimum and overtime wages, and an additional and equal
amount as liquidated damages pursuant to the FLSA and the supporting United States
Department of Labor Regulations;

2. Payment of pre-judgment and post-judgment interest;

3. An injunction requiring Defendant to pay all statutorily required wages and cease
the unlawful activity described herein pursuant to the FLSA;

4, Payment of reasonable attorney's fees and costs of the action;

5. Alternatively, an Order requiring Defendant to pay Plaintiff the difference
between the agreed-upon salary rate based on Department of Labor prevailing wage rates and the
actual compensation paid to Plaintiff

6. A declaratory judgment that the controlling Employment Agreement between the
parties was the Agreement dated February 27, 2018, and that the term of the employment

agreement was three years;

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7. An order enjoining Defendant from enforcing or threatening to enforce a 5-year
term of employment and from demanding damages from Plaintiff;
8. Such other relief as this Court shall deem just and proper.
DEMAND FOR JURY TRIAL

Plaintiff is entitled to and hereby demands a jury trial in this matter on all issues of fact

raised by the Complaint.
Respectfully submitted.
July #7, 2021. Huntington, West Virginia.
S19
JANICE GULLAS
6621 Country Club Drive
Huntington, WV 25705

Tel. No. 704-691-9773

Pro Se Plaintiff

VERIFICATION

STATE OF WEST VIRGINIA _i+*)
COUNTY OF  C9@éte )SS,

I, JANICE GULLAS, of legal age and a resident of the state of West Virginia, after
having been sworn in accordance with law, hereby state that I am the plaintiff in the within
Complaint. I have read the foregoing complaint and know the contents thereof. The contents

are true to my knowledge, except as to matters therein stated to be alleged upon information and

belief, and as to those matters I believe them to be true.

 

  

 

JA GU.
SUBSCRIBED to before me on July 472021. STATE OF WEST VIRGINIA
COUNTY OF CABELL
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